         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 1 of 22



Marc Toberoff (MT 4862)
mtoberoff@toberoffandassociates.com
TOBEROFF & ASSOCIATES, P.C.
23823 Pacific Coast Hwy, Suite 50-363
Malibu, CA 90265
Telephone: (310) 246-3333
Facsimile: (310) 246-3101

Attorneys for Patrick S. Ditko, Administrator of the
Estate of Stephen J. Ditko


                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



  MARVEL CHARACTERS, INC.,                             Case No.: 1:21-cv-07957-LAK

                        Plaintiff,                     Hon. Lewis A. Kaplan
         v.
                                                       DEFENDANT’S ANSWER &
  PATRICK S. DITKO, in his capacity as                 COUNTERCLAIM
  Administrator of the Estate of Stephen J.
  Ditko,
                                                       DEMAND FOR JURY TRIAL
                        Defendant.


  PATRICK S. DITKO, in his capacity as
  Administrator of the Estate of Stephen J.
  Ditko,

                        Counterclaimant,
         v.

  MARVEL CHARACTERS, INC. and DOES
  1-10, inclusive,

                 Counterclaim-Defendants.
         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 2 of 22




                                  NATURE OF THE ACTION

       1.      Defendant Patrick S. Ditko (“Patrick Ditko” or Defendant”), as the Administrator

of the estate of Stephen J. Ditko (“Steve Ditko”), admits only that he has exercised Steve Ditko’s

termination rights under the United States Copyright Act (the “1976 Act”) by serving notices of

termination on plaintiff Marvel Characters, Inc. (“MCI” or “Plaintiff”) regarding comic book

characters and stories created or co-created by Steve Ditko, and that MCI has brought this civil

action for declaratory relief as set forth in its Complaint, but Defendant otherwise denies the

allegations in paragraph 1.

       2.      Defendant admits only that the district court in Marvel Worldwide, Inc. v. Kirby,

granted Marvel Worldwide, Inc. summary judgment against the statutory heirs of Jack Kirby, 777

F. Supp. 2d 720 (S.D.N.Y. 2011), aff’d in part, 726 F.3d 119 (2d Cir. 2013), and to the extent

relevant, if any, respectfully refers the Court to these decisions for their contents, but Defendant

otherwise denies the allegations in paragraph 2.

       3.      Defendant respectfully refers the Court to In re Marvel Entertainment Grp., 254

B.R. 817 (D. Del. 2000) for its contents, to the extent relevant, if any, but Defendant otherwise

denies the allegations in paragraph 3.

       4.      Defendant admits only that that MCI has brought this civil action for declaratory

relief pursuant to 28 U.S.C. § 2201, as set forth in its Complaint, but Defendant otherwise denies

the allegations in paragraph 4.

                                             PARTIES

       5.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 5, and on that basis denies the same.

       6.      Admitted.



                                                   1
            Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 3 of 22




                                 JURISDICTION AND VENUE

       7.       Defendant admits only that Plaintiff purports to bring an action for declaratory

relief under 28 U.S.C. §§ 2201, et seq., and under the 1976 Act, 17 U.S.C. §§ 101, et seq.

Paragraph 7 otherwise contains conclusions of law as to which no responsive pleading is

required.

       8.       Defendant admits only that Patrick Ditko holds the statutory termination rights of

Steve Ditko under the 1976 Act. Paragraph 8 otherwise contains conclusions of law as to which

no responsive pleading is required.

       9.       Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the factual allegations contained in paragraph 9, and on that basis denies the same.

Paragraph 9 otherwise contains conclusions of law as to which no responsive pleading is

required.

                                         ALLEGATIONS

       10.      Denied.

       11.      Denied.

       12.      Denied.

       13.      Denied.

       14.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 14 and on that basis denies the same. Defendant

respectfully refers the Court to all documents referred to in paragraph 14 for evidence of the

contents thereof.

       15.      Defendant admits that between approximately June 1 and July 16, 2021, Patrick

Ditko, as the Administrator of the estate of Steve Ditko, duly served four notices of termination



                                                 2
         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 4 of 22




on MCI and related entities, pursuant to 17 U.S.C. § 304 (c) and the regulations promulgated

thereunder. Defendant otherwise respectfully refers the Court to the documents referred to in

paragraph 15 for evidence of the contents thereof.

       16.     Defendant admits the allegations in paragraph 16 only to the extent such

allegations accurately reflect the contents of documents, and respectfully refers the Court to such

documents for evidence of the contents thereof.

       17.     Defendant admits the allegations in paragraph 17 only to the extent such

allegations accurately reflect the contents of documents, and respectfully refers the Court to such

documents for evidence of the contents thereof.

       18.     Admitted.

                         COUNT I: ACTION FOR DECLARATORY RELIEF

                                    [As to the Validity of All Notices]

       19.     Defendant re-alleges and incorporates by reference paragraphs 1-18 inclusive of

his Answer, as though fully set forth herein.

       20.     Admitted.

       21.     Denied.

       22.     Denied.

       23.     Denied.

       24.     Denied.

       25.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 25, and on that basis denies the same.

       26.     Admitted.

       27.     Defendant lacks knowledge or information sufficient to form a belief as to the



                                                  3
            Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 5 of 22




truth of the factual allegations contained in paragraph 27, and on that basis denies the same.

       28.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the factual allegations contained in paragraph 28, and on that basis denies the same.

Paragraph 28 otherwise contains conclusions of law as to which no responsive pleading is

required.

       29.      Defendant denies the allegations contained in paragraph 29, except admits that

MCI purports to seek a declaratory judgment pursuant to 28 U.S.C.§ 2201.

                                     PRAYER FOR RELIEF

       A.         With respect to the relief requested in paragraph A. of the Prayer for Relief,

Defendant specifically and generally denies that MCI is entitled to any of the relief requested in

said paragraph.

       B.         With respect to the relief requested in paragraph B. of the Prayer for Relief,

Defendant specifically and generally denies that MCI is entitled to any of the relief requested in

said paragraph.

       C.         With respect to the relief requested in paragraph C. of the Prayer for Relief,

Defendant specifically and generally denies that MCI is entitled to any of the relief requested in

said paragraph.

                                   AFFIRMATIVE DEFENSES

       Defendant hereby additionally alleges the following as affirmative defenses:

                               FIRST AFFIRMATIVE DEFENSE

                                     (Failure to State a Claim)

       1.       The Complaint fails to state a claim upon which the relief sought or any relief

could be granted.



                                                  4
         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 6 of 22




                               SECOND AFFIRMATIVE DEFENSE

                                               (Laches)

       2.        Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.

                                THIRD AFFIRMATIVE DEFENSE

                                           (Unclean Hands)

       3.        Plaintiff’s claims are barred, in whole or in part, by the equitable doctrine of

unclean hands.

                              FOURTH AFFIRMATIVE DEFENSE

                                        (Unjust Enrichment)

       4.        The Complaint and each purported claim therein is barred, in whole or in part, by

the equitable doctrine of unjust enrichment.

                                FIFTH AFFIRMATIVE DEFENSE

                                          (Claim Preclusion)

       5.        The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of res judicata or claim preclusion.

                                SIXTH AFFIRMATIVE DEFENSE

                                          (Issue Preclusion)

       6.        The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of collateral estoppel or issue preclusion.

                              SEVENTH AFFIRMATIVE DEFENSE

                                               (Duress)

       7.        Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

contract between the parties or their respective predecessors-in-interest is unenforceable and/or



                                                    5
         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 7 of 22




void because of duress.

                             EIGHTH AFFIRMATIVE DEFENSE

                                         (Statute of Frauds)

       8.      Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

contract between the parties or their respective predecessors-in-interest is unenforceable and/or

void because of the Statute of Frauds.

                                NINTH AFFIRMATIVE DEFENSE

                                    (Failure of Consideration)

       9.      Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

contract between the parties or their respective predecessors-in-interest is unenforceable and/or

void because the contract(s) lacked consideration.

                                TENTH AFFIRMATIVE DEFENSE

                                     (Statute of Limitations)

       10.     The Complaint and each purported claim therein is barred, in whole or in part, by

Plaintiff’s failure to bring such claims within the governing statute of limitations.

                           ELEVENTH AFFIRMATIVE DEFENSE

                                              (Waiver)

       11.     The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of waiver.

                            TWELFTH AFFIRMATIVE DEFENSE

                                           (Acquiescence)

       12.     The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of acquiescence.



                                                  6
          Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 8 of 22




                           THIRTEENTH AFFIRMATIVE DEFENSE

                                         (Judicial Estoppel)

        13.      The Complaint and each purported claim therein is barred, in whole or in part, by

the equitable doctrine of judicial estoppel.

                           FOURTEENTH AFFIRMATIVE DEFENSE

                                        (Equitable Estoppel)

        14.      The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of equitable estoppel.

                            FIFTEENTH AFFIRMATIVE DEFENSE

              (Defendant’s Termination Notices Not Invalidated by Technical Errors)

        15.      Under 17 U.S.C. § 304(c) and 37 C.F.R. § 201.10, Defendant’s Termination

Notices are not invalidated or curtailed due to technical errors or omissions, if any, since

Defendant’s intent to terminate all prior grants by Stephen J. Ditko of his copyright interests in

all works listed in the Notices is made clear to Plaintiff in the Termination Notices timely served

on Plaintiff.

                            SIXTEENTH AFFIRMATIVE DEFENSE

                                       (Against Public Policy)

        16.      Any contract alleged in the Complaint which is contrary to public policy is

unenforceable, and any relief requested in the Complaint which is contrary to public policy

should not be granted.

                               ________________________________

        17.      The Complaint fails to state the claims for relief therein with sufficient

particularity to permit Defendant to discern and raise all appropriate defenses. Defendant may



                                                   7
         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 9 of 22




have additional affirmative defenses available to him, which are not now fully known or of

which Defendant is not fully aware. Defendant accordingly reserves the right to amend or

supplement this answer with additional affirmative defenses after the same have been

ascertained.

        FOR THESE REASONS, Defendant prays that the Court dismiss all of Plaintiff’s

claim(s) and find for Defendant on Plaintiff’s Count One, and that Defendant be awarded costs,

including reasonable attorneys’ fees under Section 505 of the United States Copyright Act, and

pray for such other and further relief as this Court deems just and proper.

                                        COUNTERCLAIM

        Counterclaimant Patrick S. Ditko, as the Administrator of the estate of Stephen J. Ditko

(the “Ditko Estate” or “Counterclaimant”), for his Counterclaim against Marvel Characters, Inc.

(“MCI” or “Counterclaim-Defendant”) alleges as follows:

                                   NATURE OF THE ACTION

        1.      Stephen J. Ditko (“Steve Ditko”) was a renowned comic book author and artist best

known for creating “Dr. Strange,” co-creating “Spider-Man,” and creating or co-creating

numerous other iconic characters in various original comic book stories (the “Stories”), published

in the 1960s by MCI’s alleged predecessors. The United States Copyright Act of 1976, 17 U.S.C.

§304 (c) (“Section 304(c)”), provides authors such as Steve Ditko and their estates with the right

to recover their fair share of the U.S. copyright to the author’s creative work, after a lengthy period,

by statutorily terminating without cause prior transfer(s) of copyright within delineated time

“windows.”

        2.      On June 1, 2021, June 8, 2021, and July 16, 2021, respectively, the Ditko Estate

properly availed itself of its termination rights under Section 304(c) by serving MCI and their



                                                   8
        Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 10 of 22




affiliates, within the prescribed window, with four notices of termination (“Termination

Notices”) regarding Steve Ditko’s author or co-author share of the Stories based on his creative

material (the “Ditko Material”). The Termination Notices become effective in June – July 2023.

This Counterclaim principally seeks a declaratory judgment that the Ditko Estate’s Termination

Notices are valid and effective under the Copyright Act.

       3.      The Supreme Court clearly elucidated the objective of the Copyright Act’s

termination provisions:

       The principal purpose of the [termination right] was to provide added benefits to
       authors ... to make the rewards for the creativity of authors more substantial. More
       particularly, the termination right was expressly intended to relieve authors of the
       consequences of ill-advised and unremunerative grants that had been made before
       the author had a fair opportunity to appreciate the true value of his work product.
       That general purpose is plainly defined in the legislative history and, indeed, is fairly
       inferable from the text of § 304 itself.

Mills Music, Inc. v. Snyder, 469 U.S. 153, 172-73 (1985).

       4.      Congress recognized that publishers held far greater bargaining power and that,

consequently, authors commonly agreed to one-sided grants, precluding them from sharing in their

works’ success. Id. The results were often supremely unfair, as when a work proved to have

enduring commercial value but enriched only the publisher. Congress thus created termination

rights to “safeguard[] authors against unremunerative transfers” made before their works were

commercially exploited, and to give them a second chance to obtain a more equitable portion of

their works’ value when it is no longer conjectural. H.R. Rep. No. 94-1476, at 124; see also N.Y.

Times v. Tasini, 533 U.S. 483, 496 n.1 (2001) (recognizing Congress’ intent to adjust “the

author/publisher balance” by an “inalienable authorial right to revoke a copyright transfer”).

                                JURISDICTION AND VENUE

       5.      This is an action for declaratory relief brought under 28 U.S.C. §§ 2201, et seq.,


                                                  9
           Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 11 of 22




and under the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq. This Court has federal question

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

          6.    This Court has personal jurisdiction over the Counterclaim-Defendant MCI

because MCI is regularly doing business in the State of New York and in this district and

maintains contacts within the State of New York and this district.

          7.    Venue is proper in the United States District Court for the Southern District of

New York pursuant to 28 U.S.C. §§ 1391(b) and (c) and 1400(a), because MCI is conducting

business in this district and is subject to personal jurisdiction in this district.

                                               PARTIES

          8.    Counterclaimant Patrick S. Ditko is an individual and a citizen of and resides in

the State of New York, in the County of New York, and is and at all times has been a citizen of

the United States. Counterclaimant is the brother of Steve Ditko and the Administrator of his

estate.

          9.    Counterclaimant is informed and believes and based thereon alleges that

Counterclaim-Defendant MCI is a Delaware corporation, which has its principal place of

business in Burbank, California, and which regularly conducts significant business in the State of

New York.

          10.   Counterclaimant is informed and believes and based thereon alleges that the

fictitiously named Counterclaim-Defendants captioned hereinabove as Does 1 through 10,

inclusive, and each of them, were in some manner responsible or legally liable for the actions,

damages, events, transactions and circumstances alleged herein. The true names and capacities of

such fictitiously named Counterclaim-Defendants, whether individual, corporate, associate, or

otherwise are presently unknown to Counterclaimant, and Counterclaimant will amend this



                                                    10
        Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 12 of 22




Counterclaim to assert the true names and capacities of such fictitiously named Counterclaim-

Defendants when the same have been ascertained. For convenience, each reference herein to

MCI shall also refer to the Doe Counterclaim-Defendants and each of them.

       11.     Counterclaimant is informed and believes and based thereon allege that each of

the Counterclaim-Defendant and the Doe Counterclaim-Defendants was the agent, partner,

servant, employee, or employer of each other, and that at all times herein mentioned, each of the

Counterclaim-Defendant and the Doe Counterclaim-Defendants was acting within the course and

scope of such employment, partnership and/or agency and that each is jointly and severally

responsible for the damages hereinafter alleged.

                                 STATUTORY BACKGROUND

       12.     The United States Copyright Act of 1976, 17 U.S.C. § 101 et seq. (the “Copyright

Act”), provides an author with the inalienable right to recapture the copyright to the author’s

creative material, after a lengthy waiting period, by statutorily terminating without cause any

prior express or implied transfer of such copyright. Termination is easily carried out by serving

advance notice of termination on the original grantee or its successors and filing the notice with

the U.S. Copyright Office, within delineated time “windows.” 17 U.S.C. § 304(c).

       13.     Section 304(c) provides for the termination of a pre-1978 transfer of rights under

copyright by the author during a five (5) year period commencing fifty-six (56) years after the

date the author’s work first secured a statutory copyright (by registration or publication,

whichever is earlier). Id. §§ 304(c)(3). The requisite notice of termination sets forth the

“effective date” of termination, within the five-year termination “window,” when the previously

transferred rights under U.S. copyright will be recaptured by the author. Notice of termination

may be served by the author, or if the author is deceased, by the author’s statutorily defined heirs



                                                 11
        Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 13 of 22




or estate, at any time between ten (10) and two (2) years before the effective termination date. Id.

§ 304(c)(4)(A).

       14.     True “works made for hire” are the sole exemption from the Copyrights Act’s

termination provisions. Id. § 304(c). Whether a work, created and published prior to January 1,

1978, is a “work made for hire,” is determined under and is defined in Section 26 of the 1909

Copyright Act. Pub.L. 60-349.

       15.     The termination right is the most important authorial right provided by the

Copyright Act, short of copyright itself. Congress was therefore very protective of this right and,

to that end, enacted a number of provisions to prevent any waiver or encumbrance of an author’s

termination interest. For instance, “[t]ermination of the [prior copyright] grant may be effected

notwithstanding any agreement to the contrary [.]” Id. § 304(c)(5).

       16.     Furthermore, “[h]armless errors in a [termination] notice that do not materially

affect the adequacy of the information required to serve the purposes of . . . section [304(c)] of

title 17, U.S.C. . . . shall not render the notice invalid.” 37 CFR § 201.10(e)(1).

       17.     Congress also anticipated that the exercise of an author’s termination right would

usually result in a new license by the author or author’s estate to the terminated grantee (here,

MCI). To that end, Congress provided that “grantee” with the exclusive opportunity to re-license

an author’s recaptured copyright “after the notice or termination has been served,” but before

“the effective date of the termination.” 17 U.S.C. § 304(c)(6)(D). The termination provisions

thus reflect a deliberate balance of competing interests by Congress.

       18.     Under the termination provisions, all “derivative works” created prior to a

termination notice’s effective termination date “may continue to be” distributed and exploited by

the grantee or grantee’s successor, just as before. 17 U.S.C. § 304(c)(6)(A). The Ditko Estate’s



                                                 12
         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 14 of 22




recovery of Steve Ditko’s author or co-author share of the U.S. copyright to the Stories therefore

does not prevent MCI and/or its licensees from continuing to freely exploit prior derivative

works, including films, television series and merchandising.

        19.     In addition, as to the Stories that were co-authored by Steve Ditko, MCI and/or its

licensees can continue to freely exploit such Stories, including in new derivative works, even

after the effective termination date(s), subject only to a duty to account to the Ditko Estate for an

equitable share of proceeds therefrom, and this only in the unlikely event MCI does not enter

into a preemptive new license with the estate regarding such works.

        20.     Lastly, because the Copyright Act has no extra-territorial application, all rights to

the Stories in all foreign territories, remain with MCI, notwithstanding the Termination Notices,

providing additional incentives for the parties to cooperatively work together in the future.

        21.     As a result, the Termination Notices, if held effective, will likely result in a new

license from the Ditko Estate to MCI, but one which more fairly reflects the time-tested market

value of Steve Ditko’s creative material. Accordingly, the exercise of statutory termination rights

does not prevent the further exploitation of these works by MCI; it simply allows the Ditko

Estate to fairly participate in the financial benefits of Steve Ditko’s creative efforts, just as

Congress intended. H.R. Rep. No. 94-1476, at 124 (1976).

                     FACTS COMMON TO ALL CLAIMS FOR RELIEF

        22.     Steve Ditko is considered one of the great comic book creators, and throughout

his career he authored or co-authored numerous original comic book stories that were published

by a variety of different publishers.

                       Steve Ditko’s Creation of the Stories in 1962-1966

        23.     Between 1962 and 1966 (the applicable “Period”), Steve Ditko created or co-



                                                   13
        Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 15 of 22




created a number of superhero characters, including but not limited to “Spider-Man” and “Doctor

Strange,” in the original illustrated comic book Stories, authored or co-authored by him, which

are the subjects of the Ditko Estate’s Termination Notices.

       24.     Because “work for hire” is the only exception to the Copyright Act’s remedial

termination provisions, MCI attempts to rewrite history in asserting that the Ditko Material was

“work made for hire,” owned at inception by MCI’s alleged predecessors. This bears no relation,

however, to the facts or realities of comic book publishing in the relevant Period.

       25.     By 1959, comic book publishing was on the brink of bankruptcy, due in large part

to criticism in Fredric Wertham’s book, “Seduction of the Innocent,” the ensuing 1954 hearings

before the Senate Subcommittee on Juvenile Delinquency, and the resulting censorship imposed

by the “Comics Code Authority.” Subsequently, the market for comic books underwent a severe

contraction which endured well into the 1960s.

       26.     As such, the purported comic book publishing entities which MCI alleges are its

predecessor(s) from this Period (individually and collectively, “MCIPP”) were largely shell

companies, of no resemblance to the structured, established company Marvel is today.

       27.     In 1962-63, for instance, the MCIPP did not even have their own office and

consisted of one alleged employee with a small desk behind a partition in a room occupied by

others. By 1964, the MCIPP had at best a tiny one or two-room office, and very few or no

employees (depending on the MCIPP). The impecunious MCIPP fed the printing presses of other

entities with inexpensive comic book material purchased for publication from a variety of

“freelancers,” like Steve Ditko, working from home on their own steam.

       28.     The Ditko Estate is informed and believes and based thereon alleges that after the

Ditko Material was purchased by one such entity, it was published by a different entity in



                                                 14
        Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 16 of 22




varying periodicals (e.g., Amazing Fantasy, Vol. 1, No. 15; Strange Tales, Vol. 1, Nos. 102-147;

Amazing Spider-Man, Vol. 1, Nos. 1-38; The Fantastic Four Annual, Vol. 1, No. 2; Strange

Tales Annual, Vol. 1, No. 2; and Amazing Spider-Man Annual, Vol. 1, Nos. 1-2).

       29.     The Ditko Estate is further informed and believes and based thereon alleges that

the copyrights in these periodicals, containing the Stories, were registered with the United States

Copyright Office by and in the name of still different entities (e.g., Atlas Magazines, Inc., Non-

Pareil Publishing Corporation, and Vista Publications, Inc.). As such, there was little continuity

or substance to the use or participation of these revolving entities or MCIPP to support MCI’s

conclusion that the Ditko Material qualified as “work made for hire” under and as defined in the

1909 Copyright Act.

       30.     Notably, even the MCIPP’s contemporaneous copyright registrations by these

assorted shell companies did not list or describe their copyrighted periodicals or the Stories

therein, as “works made for hire,” as was common legal practice for copyright registrations of

actual “works for hire.”

       31.     As a freelancer, Steve Ditko created the Ditko Material, used in the stories he

authored or co-authored, largely on his own and at his own expense. The MCIPP conspicuously

never entered into any employment or any other engagement agreement with Steve Ditko.

       32.     Steve Ditko was not employed by any MCIPP, either as a traditional employee or

even as an independent contractor.

       33.     Steve Ditko was thus not guaranteed a salary, wage or compensation for his time

or services by any MCIPP, which purposefully avoided such legally binding financial

obligations. And because the MCIPP had no employment agreement with Steve Ditko, the

MCIPP also had no legal right to control his creation of the Ditko Material, at his home, on his



                                                15
        Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 17 of 22




own time, and at his own expense.

       34.     The MCIPP, by design, was also under no legal obligation to accept for

publication and pay for the material created by Steve Ditko, or by any other freelancer.

Accordingly, like many comic book writers and artists during this time of economic uncertainty,

Steve Ditko worked hand to mouth, at his own premises, using his own instruments and

materials, and he thereby bore the entire financial risk of creating the Ditko Material in question.

       35.     Upon completion, Steve Ditko submitted his material to the MCIPP. If the MCIPP

chose, in its sole discretion, to accept it for publication, it purchased the Ditko Material by the

page. The MCIPP did not pay for submitted pages that it rejected, in its sole discretion, nor did it

own such rejected material, underscoring that the nature of this was a purchase, as a matter of

law, subsequent to creation, and that the Ditko Material was not “work made for hire,” owned at

inception by an MCIPP.

       36.     The Ditko Estate is informed and believes and based thereon alleges that

accordingly, the back of MCIPP checks issued to buy the Ditko Material contained a printed

legend, which stated that by endorsement of the check, the payee acknowledges his assignment

of the copyright in his material—the legal opposite of a “work for hire.”

       37.     Once the MCIPP purchased the Ditko Material, it, of course, was free to do with it

what it pleased, including any alteration or additions thereto, and the copyright registration of the

periodicals, containing the Stories authored or co-authored by Steve Ditko.

       38.     One MCIPP allegedly employed Stan Lee. However, Lee’s creative contributions,

including to the Ditko Works, if any, were made by Lee as a freelance writer, not as an MCIPP

employee. Thus, separate and apart from Lee’s employee salary, the MCIPP always paid Lee by

the page for his creative contributions, just like it did Steve Ditko and the other freelancers that



                                                  16
        Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 18 of 22




sold their material to the MCIPP.

       39.     The MCIPP did not assign Steve Ditko stories to illustrate.

       40.     For instance, Dr. Strange originated with a complete illustrated five-page story

with a panel/page script, solely authored by Steve Ditko “on spec” and on his own. Accordingly,

in a letter published in The Comic Reader #16 (February 23, 1963), Stan Lee wrote:

       “Well, we have a new character in the works for Strange Tales, just a 5-page filler named
       Dr. Strange …’Twas Steve [Ditko]’s idea.”

       41.     This was likewise confirmed by Steve Ditko in a 2007 essay:

       “On my own, I brought in to Lee a five-page, penciled story with a page/panel script of
       my idea of a new, different kind of character for variety … My character wound up being
       named Dr. Strange because he would appear in Strange Tales.”

       42.     Steve Ditko would both author and plot the stories of the Ditko Works and

illustrate the Ditko Works. Thereafter, Stan Lee would add dialogue and captions. In fact, under

the so-called “Marvel Method” at the time, an illustrator was looked upon to originate and plot

his own stories.

       43.     Of Steve Ditko’s work in general, Stan Lee, wrote in his published book Doctor

Strange Master of the Universe (Fireside Press, 1979):

       “Steve Ditko is one of the best plot men in the business. After Steve did the hard part —
       after he dreamed up the story and illustrated it … I then got to do the fun part. I
       wrote … the dialog balloons …”.

       44.     With respect to Spiderman, Stan Lee similarly stated in an interview, published in

the New York Herald Tribune (January 9, 1966):

       “Steve Ditko, the artist, has been doing the stories . . . making up his own stories.
       He won’t let anyone else ink his drawings either. He just drops off the finished
       pages with notes at the margins and I fill in the dialogue. I never know what he’ll
       come up with next, but it’s interesting to work that way.”

       45.     Notwithstanding that Steve Ditko created and plotted his own stories, the MCIPP



                                                17
           Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 19 of 22




did not bother to pay him anything for this. Instead, Stan Lee habitually took the writing credit

such that the MCIPP paid him the “writer’s share” of money paid to purchase such freelance

stories.

           46.   Given the above facts and circumstances, the Ditko Material was not “work made

for hire” for any MCIPP under the 1909 Copyright Act.

       Steve Ditko’s Estate Exercises His Termination Rights Under the Copyright Act

           47.   On June 1, 2021, June 8, 2021, and July 16, 2021, respectively, the Ditko Estate

served by first class mail, postage prepaid, the Termination Notices, pursuant to the Copyright

Act, 17 U.S.C. § 304(c) on MCI and its affiliates, duly terminating all express or implied grants

or transfers by Steve Ditko to the MCIPP of his copyright interests in the Stories. Copies of these

Termination Notices are attached hereto as Exhibit “A.”

           48.   The copyrights to the periodicals containing the Stories were renewed by MCI or

its alleged predecessor(s) with the United States Copyright Office, and such renewal registrations

served to renew the copyrights to the constituent Stories.

           49.   The Termination Notices were drafted and served on MCI and related entities, and

submitted to the United States Copyright Office for recordation, all in full compliance with the

Copyright Act, 17 U.S.C. § 304(c), and the regulations promulgated thereunder by the Register

of Copyrights, 37 C.F.R. § 201.10.

           50.   The Termination Notices will terminate, on the respective effective termination

dates set forth therein, all operative prior grants or transfers by Steve Ditko to an MCIPP of his

copyright interest as an author or co-author of the Stories.

           51.   On the effective termination dates, the Ditko Estate will duly recover ownership

of Steve Ditko’s copyright interest as an author or co-author of the Stories for their extended



                                                 18
         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 20 of 22




renewal terms.

                                            COUNT ONE

  (Declaratory Relief: Termination Notices Are Valid and Effective Under 17 U.S.C. § 304(c))

       52.       The Ditko Estate re-alleges and incorporates by reference paragraphs 1 through

51 of this Counterclaim inclusive, as though fully set forth herein.

       53.       By reason of the foregoing facts, an actual and justiciable controversy has arisen

and now exists between the parties under federal copyright law, concerning the validity and

effect of the Termination Notices.

       54.       The Ditko Estate contends and MCI denies that the Termination Notices are valid

and effective under the Copyright Act, 17 U.S.C. § 304(c).

       55.       Steve Ditko was never employed by MCI’s alleged predecessor(s) as either an

employee or as an independent contractor.

       56.       MCI’s alleged predecessor(s) therefore had no legal right to control Steve Ditko’s

creation of the Ditko Material, and once completed, it had no legal obligation to pay Steve Ditko

for his material unless it was accepted, in its sole discretion, for publication.

       57.       The Ditko Material was therefore not created by Steve Ditko at the “instance and

expense” of MCI’s alleged predecessor(s), and instead was purchased subsequent to Steve

Ditko’s creation of the material on a freelance basis at his own expense.

       58.       The Ditko Material, comprising his contribution to the Stories, was therefore by

no means “work made for hire” under and as defined in Section 26 of the 1909 Copyright Act.

Pub.L. 60-349.

       59.       A declaration of the Court is necessary and appropriate at this time so that the

parties may know their respective rights and obligations regarding the Termination Notices and



                                                  19
           Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 21 of 22




Stories.

       60.      Accordingly, the Ditko Estate seeks pursuant to 28 U.S.C. § 2201 a declaratory

judgment from this Court that its Termination Notices are valid and effective under the Copyright

Act.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Ditko Estate prays for a judgment against MCI as follows:

       1.       For a declaration that its Termination Notices are valid under the Copyright Act,

and as to the parties’ rights and obligations regarding the Stories;

       2.       For reasonable attorney’s fees and costs of suit; and

       3.       For such other and further relief as the Court deems just and equitable.

                                               Respectfully submitted,

Date: December 7, 2021                         By:            /s/ Marc Toberoff
                                                                Marc Toberoff

                                               TOBEROFF & ASSOCIATES, P.C.
                                               mtoberoff@toberoffandassociates.com
                                               23823 Pacific Coast Hwy, Suite 50-363
                                               Malibu, CA 90265
                                               Telephone: (310) 246-3333
                                               Facsimile: (310) 246-3101

                                               Attorneys for Patrick S. Ditko,
                                               Administrator of the Estate of Stephen J. Ditko




                                                 20
         Case 1:21-cv-07957-LAK Document 24 Filed 12/07/21 Page 22 of 22




                                   JURY TRIAL DEMANDED

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Defendant and

Counterclaimant Patrick S. Ditko hereby demands a trial by jury on each claim for relief and/or

issue that is triable by a jury.

                                            Respectfully submitted,

Date: December 7, 2021                      By:            /s/ Marc Toberoff
                                                             Marc Toberoff

                                            TOBEROFF & ASSOCIATES, P.C.
                                            mtoberoff@toberoffandassociates.com
                                            23823 Pacific Coast Hwy, Suite 50-363
                                            Malibu, CA 90265
                                            Telephone: (310) 246-3333
                                            Facsimile: (310) 246-3101

                                            Attorneys for Patrick S. Ditko,
                                            Administrator of the Estate of Stephen J. Ditko




                                               21
